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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS


A.L. HANSEN MANUFACTURING CO.,

                              Plaintiff,
                                                   Case No. 1:09-cv-03516
        v.
                                                   Judge Dow
S.P.E.P. ACQUISITION CORP., d/b/a
SIERRA PACIFIC ENGINEERING &
                                                   Magistrate Judge Schenkier
PRODUCTS,


                              Defendant.




       STIPULATION AND ORDER OF DISMISSAL WITHOUT PREJUDICE

       IT IS HEREBY STIPULATED, by and between counsel for the parties, subject to the

approval of the Court, that pursuant to Fed. R. Civ. P. 41(a)(2) this action is dismissed

without prejudice, with each party to bear its own costs, attorneys’ fees, court costs and

expenses.
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Date: September 28, 2009             Respectfully submitted,

A.L. HANSEN MANUFACTURING             S.P.E.P. ACQUISITION CORP.

s/ Charles M. McMahon                 s/ S. Richard Carden
Charles. M. McMahon                   John J. McDonnell
Jeffrey A. Marx                       S. Richard Carden
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                                      Attorneys for Defendant
                                      S.P.E.P. Acquisition Corp.




                                  SO ORDERED this ___ day of ______________, 2009.




                                  The Honorable Robert M. Dow, Jr.
                                  United States District Judge




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